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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
FTD Companies, Inc., et al.,1                          :       Case No. 19-11240 (LSS)
                                                       :
                    Debtors.                           :       (Jointly Administered)
                                                       :
                           NOTICE OF AGENDA OF MATTERS SCHEDULED
                          FOR HEARING ON JUNE 25, 2019 AT 10:00 A.M. (EDT)2

 I.       UNCONTESTED MATTER GOING FORWARD:

          1.         Motion of the Debtors for Entry of an Order Authorizing Filing Under Seal of
                     Certain Exhibits to Motion for an Order (I) Approving the Debtors' (A) Key
                     Employee Incentive Program and (B) Key Employee Retention Program and (II)
                     Granting Certain Related Relief [Docket No. 95 – filed June 7, 2019]

                     Objection/Response Deadline:              June 19, 2019 at 4:00 p.m. (ET)

                     Objection / Responses Received:           None.

                     Related Documents:

                     i.        Motion of the Debtors for an Order (I) Approving the Debtors' (A) Key
                               Employee Incentive Program and (B) Key Employee Retention Program
                               and (II) Granting Certain Related Relief (REDACTED) [Docket No. 93 -
                               filed June 7, 2019] (Document located under tab 3.i.)


 1        The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
          numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists'
          Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
          (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD
          Mobile, Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and
          Provide Creations, Inc. (8964). The Debtors' noticing address in these chapter 11 cases is 3113 Woodcreek
          Drive, Downers Grove, IL 60515.
 2
          The hearing will be held before The Honorable Laurie Selber Silverstein at the United States Bankruptcy
          Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 2, Wilmington,
          Delaware 19801. Any person who wishes to appear telephonically at the June 25, 2019 hearing must
          contact COURTCALL, LLC at 866-582-6878 prior to the hearing to register his/her telephonic appearance
          in accordance with the Instructions for Telephonic Appearances Effective January 5, 2005, Revised May
          11, 2018.



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                   ii.    Motion of the Debtors for an Order (I) Approving the Debtors' (A) Key
                          Employee Incentive Program and (B) Key Employee Retention Program
                          and (II) Granting Certain Related Relief (FILED UNDER SEAL) [Docket
                          No. 94 - filed June 7, 2019] (Document located under tab 3)

                   iii.   Notice of Filing of Redacted Exhibit B to KEIP/KERP Motion [Docket
                          No. 124 – filed June 14, 2019] (Document located under tab 3.v.)

                   Status: The hearing on this matter is going forward.

II.      CONTESTED MATTER GOING FORWARD:

         2.        Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding Procedures
                   for the Sale of Substantially All of the Debtors' Assets, (B) Authorizing the
                   Debtors to Enter Into One or More Stalking Horse Agreements and to Provide
                   Bidding Protections Thereunder, (C) Scheduling an Auction and Approving the
                   Form and Manner of Notice Thereof, (D) Approving Assumption and Assignment
                   Procedures, (E) Scheduling a Sale Hearing and Approving the Form and Manner
                   of Notice Thereof and (F) Granting Related Relief; (II)(A) Approving the Sale of
                   the Debtors' Assets Free and Clear of Liens, Claims, Interests and Encumbrances,
                   (B) Approving the Assumption and Assignment of Executory Contracts and
                   Unexpired Leases and (C) Granting Related Relief [Docket No. 82 - filed June 6,
                   2019]

                   Objection/Response Deadline:          June 19, 2019 at 4:00 p.m. (ET); extended
                                                         for the Official Committee of Unsecured
                                                         Creditors (the "Committee") to June 21,
                                                         2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:

                   A.     Limited Objection of the Easysaver Class Representatives to the Debtors’
                          Motion for Entry of Orders (I)(A) Approving Bidding Procedures for the
                          Sale of Substantially All of the Debtors' Assets, (B) Authorizing the
                          Debtors to Enter Into One or More Stalking Horse Agreements and to
                          Provide Bidding Protections Thereunder, (C) Scheduling an Auction and
                          Approving the Form and Manner of Notice Thereof, (D) Approving
                          Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing
                          and Approving the Form and Manner of Notice Thereof and (F) Granting
                          Related Relief; (II)(A) Approving the Sale of the Debtors' Assets Free and
                          Clear of Liens, Claims, Interests and Encumbrances, (B) Approving the
                          Assumption and Assignment of Executory Contracts and Unexpired
                          Leases and (C) Granting Related Relief [Docket No. 152 – filed June 19,
                          2019]

                   Related Documents:


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                   i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Debtors' Bidding Procedures Motion [Docket
                          No. 83 – filed June 6, 2019]

                   ii.    Order Shortening the Notice and Objection Periods for the Debtors'
                          Bidding Procedures Motion [Docket No. 89 – entered June 7, 2019]

                   Status: The hearing on this matter is going forward.

         3.        Motion of the Debtors for an Order (I) Approving the Debtors' (A) Key Employee
                   Incentive Program and (B) Key Employee Retention Program and (II) Granting
                   Certain Related Relief (FILED UNDER SEAL) [Docket No. 94 - filed June 7,
                   2019]

                   Objection/Response Deadline:          June 19, 2019 at 4:00 p.m. (ET); extended
                                                         for the Office of the United States Trustee to
                                                         June 21, 2019 at 12:00 p.m. (ET); extended
                                                         for the Committee to June 21, 2019

                   Objection / Responses Received:

                   A.     United States Trustee's Limited Objection to the Debtors' Motion for an
                          Order (I) Approving the Debtors' (A) Key Employee Incentive Program
                          and (B) Key Employee Retention Program and (II) Granting Certain
                          Related Relief [Docket No. 166 – filed June 21, 2019]

                   Related Documents:

                   i.     Motion of the Debtors for an Order (I) Approving the Debtors' (A) Key
                          Employee Incentive Program and (B) Key Employee Retention Program
                          and (II) Granting Certain Related Relief (REDACTED) [Docket No. 93 -
                          filed June 7, 2019]

                   ii.    Motion of the Debtors for Entry of an Order Authorizing Filing Under
                          Seal of Certain Exhibits to Motion for an Order (I) Approving the Debtors'
                          (A) Key Employee Incentive Program and (B) Key Employee Retention
                          Program and (II) Granting Certain Related Relief [Docket No. 95 – filed
                          June 7, 2019] (Document located under tab 3)

                   iii.   Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Debtors' Motion Seeking Approval of the (A)
                          Key Employee Incentive Program and (B) Key Employee Retention
                          Program [Docket No. 96 – filed June 7, 2019]

                   iv.    Order Shortening the Notice and Objection Periods for the Debtors'
                          Motion Seeking Approval of the (A) Key Employee Incentive Program


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                          and (B) Key Employee Retention Program [Docket No. 99 – entered June
                          10, 2019]

                   v.     Notice of Filing of Redacted Exhibit B to KEIP/KERP Motion [Docket
                          No. 124 – filed June 14, 2019]

                   vi.    Declaration of Alan D. Holtz in Support of the Debtors' KEIP/KERP
                          Motion [Docket No. 167 - filed June 21, 2019]

                   Status: The hearing on this matter is going forward.




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Dated: June 21, 2019                      Respectfully submitted,
       Wilmington, Delaware

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                                          PROPOSED ATTORNEYS FOR DEBTORS
                                          AND DEBTORS IN POSSESSION



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